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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


MELISSA HICKSON,                             §
INDIVIDUALLY AND AS THE                      §
INDEPENDENT ADMINISTRATOR                    §
OF THE ESTATE OF MICHAEL                     §
HICKSON, DECEASED AND AS                     §           CIVIL NO. A-21-CV-00514-ADA
NEXT FRIEND OF M.H, M.H. AND                 §
M.H. (ALL MINORS); and MARQUES               §
HICKSON,                                     §
                                             §
                      Plaintiffs,            §
                                             §
v.                                           §
                                             §
ST. DAVID'S HEALTHCARE                       §
PARTNERSHIP, L.P., LLP,                      §
HOSPITAL INTERNISTS OF TEXAS,                §
CARLYE MABRY CANTU, and VIET                 §
VO,                                          §
                                             §
                      Defendants.            §



                          ORDER GRANTING DEFENDANTS’
                      JOINT MOTION FOR SUMMARY JUDGMENT

       Plaintiffs filed this healthcare liability lawsuit following the death of Mr. Michael

Hickson after he contracted COVID-19. ECF No. 1. The remaining causes of actions pending in

this lawsuit are Plaintiff Melissa Hickson’s medical malpractice claims against Defendants St.

David’s Healthcare Partnership, L.P., LLP, Dr. Viet Vo, Dr. Mabry Cantu, and Hospital

Internists of Texas (collectively, “Defendants”). See ECF Nos. 47, 49. Defendants now move for

summary judgment as a matter of law. ECF No. 81. After careful consideration of Defendants’

Motion for Summary Judgment, the relevant facts, and the applicable law, the Court GRANTS

Defendants’ Motion.
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                                      LEGAL STANDARD

        Defendants filed their Joint Motion for Summary Judgment on September 4, 2024.

Pursuant to Local Rule CV-7(d)(2), a response to the Motion was due September 18, 2024. As of

October 23, 2024, no response has been filed. While Local Rule CV-7(d)(2) provides that “[i]f

there is no response filed within the time period prescribed by this rule, the court may grant the

motion as unopposed,” the Fifth Circuit has indicated that “[a] motion for summary judgment

cannot be granted simply because there is no opposition.” Day v. Wells Fargo Bank Nat’l Ass’n,

768 F.3d 435, 435 (5th Cir. 2014) (unpublished) (quoting Hibernia Nat’l Bank v. Administracion

Cent. S.A., 776 F.2d 1277, 1279 (5th Cir. 1985). However, “a court may grant an unopposed

summary judgment motion if the undisputed facts show that the movant is entitled to judgment

as a matter of law.” Id.

                                          DISCUSSION

       Plaintiff Melissa Hickson’s remaining medical malpractice claims against Defendants

allege various forms of negligence. See ECF No. 1 at ¶¶ 75–86 (Count III), 87–93 (Count IV),

121–29 (Count VII). Plaintiffs also assert medical malpractice under the Texas Wrongful Death

Act. Id. at ¶¶ 143–52 (Count IX). Under Texas law, when the negligence alleged is in the nature

of medical malpractice, plaintiffs have the burden of proving (i) a duty by the physician or

hospital to act according to an applicable standard of care; (ii) a breach of that standard of care;

(iii) an injury; and (iv) a causal connection between the breach of care and injury. See Quijano v.

United States, 325 F.3d 564, 567–78 (5th Cir. 2003) (citations omitted).

        “Texas courts have long recognized the necessity of expert testimony in medical-

malpractice cases.” Am. Transitional Care Ctrs. of Tex., Inc. v. Palacios, 46 S.W.3d 873, 876–77

(Tex. 2001) (citations omitted). All four elements require expert medical testimony. See Quijano,



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325 F.3d at 567–58 (noting that “[t]he standard of care is a threshold issue which the plaintiff

must establish before the fact finder . . . consider[s] whether the defendant breached that standard

of care” and that “[e]xpert testimony is generally required to prove the applicable standard of

care”); Rayburn v. United States, 47 F.3d 426 (5th Cir. 1995) (“A plaintiff in a Texas medical

malpractice action is required to provide expert medical testimony demonstrating familiarity

with the pertinent standard of care, explaining that the defendant breached the standard of care,

and indicating that the breach proximately caused the injury.”).

       Here, it is undisputed that Plaintiffs have not designated an expert regarding (i) the

standard of care applicable to Defendants, (ii) any alleged breach of the applicable standard of

care by Defendants, or (iii) a causal connection between any alleged breach of care by

Defendants and Mr. Hickson’s death. See ECF No. 81 at 12–13. Plaintiffs have had over a year

to designate experts, which included multiple extensions of time. See id. at 7–10. At this time,

the Court determines that Plaintiffs will not have an expert for trial. “[T]here can be no other

guide [than expert testimony], and where want of skill and attention is not thus shown by expert

evidence applied to the facts, there is no evidence of it proper to be submitted to the jury.” Am.

Transitional Care, 46 S.W.3d at 876.

       Plaintiffs’ need for and lack of expert testimony alone warrants summary judgment. See

Patel v. Baluyot, 384 F. App’x 405, 409 (5th Cir. 2010) (holding that defendants met their

summary judgment burden because it was “undisputed that [plaintiff] neither designated nor

hired an expert to testify on his behalf”); Stewart v. United States, 293 F. App’x 272, 273 (5th

Cir. 2008) (“[T]he district court determined that [plaintiff] was not going to have an expert for

trial [regarding medical malpractice claims] and therefore correctly granted the [defendant]

summary judgment, determining it was entitled to judgment as a matter of law.”); Blank v.



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United States, 713 F. App’x 400, 401 (5th Cir. 2018) (“[T]he district court did not err in granting

summary judgment given [plaintiff’s] failure to provide expert testimony as required by the

relevant medical malpractice laws of Louisiana and Texas.”); Nichols v. United States, No. 21-

50368, 2022 WL 989467, at *4 (5th Cir. Apr. 1, 2022) (affirming summary judgment because

plaintiff’s claims were health-care-related negligence claims requiring expert testimony that

plaintiff lacked).

        As an independent basis for summary judgment, there is also no dispute regarding the

lack of causal connection between Defendants’ alleged breach of the standard of care and the

injury. Under the Wrongful Death Act, a plaintiff must demonstrate that the defendant’s

wrongful actions more likely than not caused the decedent’s death—not just that they reduced

the decedent’s chance of survival by some lesser degree. Slade v. City of Marshall, Tex., 814

F.3d 263, 264–65 (5th Cir. 2016) (citing Kramer v. Lewisville Mem’l Hosp., 858 S.W.2d 397,

404 (Tex. 1993)). Relatedly, “[a] healthcare provider may prove its right to summary judgment

by establishing there is no causal connection between any breach of the standard of care and the

injury.” Hevron v. Pearl, No. 05-97-02067-CV, 2000 WL 190525, at *3 (Tex. App.—Dallas

Feb. 17, 2000, pet. denied).

        In this case, Defendants’ expert submitted sworn statements opining that, based on the

clinical circumstances present at the time Mr. Hickson was admitted, his medical condition was

such that the likelihood of his survival was “clearly less than 50% within reasonable medical

probability.” ECF No. 81-5 at ¶ 15. Thus, Defendants’ evidence affirmatively negates the

essential element of causation. For this independent reason, Defendants are entitled to summary

judgment in this case. See, e.g., Hernandez v. Calle, 963 S.W.2d 918, 921 (Tex. App.—San

Antonio 1998, no pet.) (affirming summary judgment in medical-malpractice case because



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“[defendant’s] uncontroverted affidavit denying any casual connection between his and Santa

Rosa Hospital’s acts or omissions and [plaintiff’s] injuries is sufficient to conclusively negate an

essential element of the plaintiff’s cause of action”).

                                          CONCLUSION

       For the foregoing reasons, the Court finds that there are no genuine issues of material

fact, and that Defendants are entitled to summary judgment as a matter of law. Therefore, the

Court GRANTS Defendants’ Motion for Summary Judgment. Accordingly, the Court ORDERS

that Plaintiffs’ remaining claims be DISMISSED WITH PREJUDICE and respectfully directs

the Clerk of Court to close the case.



SIGNED this 23rd day of October, 2024.




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